                                                     Notice Recipients
District/Off: 0971−3                     User: dchambers                             Date Created: 6/9/2020
Case: 19−30088                           Form ID: TRANSC                             Total: 17


Recipients of Notice of Electronic Filing:
aty         Andrew David Behlmann              abehlmann@lowenstein.com
aty         Benjamin Mintz          benjamin.mintz@arnoldporter.com
aty         Edward J. Tredinnick           etredinnick@greeneradovsky.com
aty         James O. Johnston          jjohnston@jonesday.com
aty         Lauren T. Attard         lattard@bakerlaw.com
aty         Michael S. Etkin         metkin@lowenstein.com
aty         Paul J. Pascuzzi        ppascuzzi@ffwplaw.com
aty         Paul R. Glassman          pglassman@sycr.com
aty         Rebecca J. Winthrop           rebecca.winthrop@nortonrosefulbright.com
aty         Robert A. Julian        rjulian@bakerlaw.com
aty         Steven J. Skikos        sskikos@skikos.com
                                                                                                                   TOTAL: 11

Recipients submitted to the Claims Agent (Prime Clerk):
aty         Mark Gorton        Boutin Jones, Inc.     555 Capitol Mall, Suite 1500       Sacramento, CA 95814
aty         David J. Molton      Brown Rudnick LLP          7 Times Square        New York, NY 10036
aty         Matthew Troy        U.S. Department of Justice      P.O. Box 875        Ben Franklin Station       Washington,
            DC 20044−0875
aty         Michael A. Kelly       Walkup, Melodia, Kelly and Schoenberger         650 California St. 26th Fl.     San
            Francisco, CA 94108
aty         Stephen Karotkin       Weil, Gotshal & Manges LLP         767 Fifth Avenue        New York, NY 10153
            LAUREN T. ATTARD             Baker & Hostetler LLP       600 Montgomery Street Suite 3100          San Francisco,
            CA 94111
                                                                                                                    TOTAL: 6




      Case: 19-30088            Doc# 7843-3          Filed: 06/09/20         Entered: 06/09/20 07:34:06               Page 1
                                                              of 1
